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                         IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


hire:                                           )
                                                         Chapter 11
                                                )



W. R. GRACE & CO., et al.,                      )
                                                         Case No. 01-1139 (JKF)
                                                )
                                                         Jointly Administered
                              Debtors

                                        CERTIFICATE OF SERVICE

                                                                    201h day of October, 2010, I caused
                  I, James E. O’Neill, hereby certify that on the

a copy of the following document to be served on the individuals on the attached service list in

the manner indicated:


                  NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION
                  REGARDING MONTHLY FEE APPLICATION OF BAKER DONELSON
                  BEARMAN CALD WELL & BERKOWITZ, P.C. AS A PROFESSIONAL
                  EMPLOYED BY THE ESTATE FOR THE DEBTORS FOR THE MONTH
                  OF DECEMBER, 2009 (DOCKET NO. 25514).




                                                 l  t~   E.           (Bar No. 4042)




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Grace Certificate of No Objection (for Fee          Hand Delivery
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